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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

MARK JOSEPH NORRIS                                                                    PLAINTIFF

       v.                         CIVIL NO. 2:20-cv-2034-MEF

ANDREW M. SAUL, Commissioner,
Social Security Administration                                                        DEFENDANT

                                       FINAL JUDGMENT

       This cause is before the Court on the Plaintiff’s complaint for judicial review of an

unfavorable final decision of the Commissioner of the Social Security Administration regarding

his application for Disability Insurance Benefits. The parties have consented to entry of final

judgment by the United States Magistrate Judge under the provisions of 28 U.S.C. § 636(c), with

any appeal to the Court of Appeals for the Eighth Circuit. The Court, having reviewed the record,

the administrative transcript, the briefs of the parties, the applicable law, and oral argument having

been waived, finds as follows, to-wit:

       For the reasons announced by the Court on the record on June 7, 2021, the Court finds that

the decision of the Commissioner of Social Security is supported by substantial evidence, and the

same is hereby affirmed.

       IT IS SO ORDERED this the 7th day of June 2021.

                                                      /s/ Mark E. Ford
                                                      HON. MARK E. FORD
                                                      UNITED STATES MAGISTRATE JUDGE
